4:24-cv-03177-SMB-MDN Doc # 64-12
Short Message Report

Conversations: 1
Total Messages: 8

Outline of Conversations

CJ +14174305501 » 8 messages on 10/2/2024

Filed: 01/31/25

_ Participants: 2
Date Range: 10/2/2024

<4026415432>

* Mike Hill <4174305501>

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Daws0001505

4:24-cv-03177-SMB-MDN Doc#64-12 Filed: 01/31/25 Page 2 of 2-PageID#1155

Messages in chronological order (times are shown in GMT +00:00)

Es

MH

>> MH

P>>e

>>>>

MH

eee >>

P>>>>
Poe

+14174305501

Mike Hill <4174305501> m 10/2/2024, 2:06 PM

Do we have someone doing payroll and cash advances asking cause Andrea text said she looking for freight for us to
start running with

Receipts « <4026415432> [R:10/2/2024, 2:06 PM)

<4026415432> @ 10/2/2024, 2:07 PM
| would call Chuck and ask him that question. If you do video when you call it tapes the conversation or take notes

Receipts = Mike Hill 07> FR: 10/2/2024, 2:08 PM)

Mike Hill <4174305501> & 10/2/2024, 5:11 PM

Michael, since Jim owns the truck unfortunately my hands are tied and will not be able to dispatch you. Please refer to
Jim at this point

Receipts = <4026415432> [R: 10/2/2024, 5:13 PM]

<4026415432> @ 10/2/2024, 5:16 PM
I've been notified that my hands are tied so | don’t know what to say. | may have more answers on Friday

Receipts » Mike Hill <41743055071> [R: 10/2/2024, 5:17 PM

Mike Hill <4174305501> & 10/2/2024, 5:18 PM
Just letting u Know what they said plus | recorded conversation | had if u need it

Receipts » <4026415432> [R:10/2/2024, 5:23 PM]

<4026415432>
Please send it

A

10/2/2024, 5:23 PM

4> [R:10/2/2024, 5:27 PM)

Receipts «Mike Hill <417430

Mike Hill <4174305501> & 10/2/2024, 5:28 PM
Just sent from wife’s phone

Receipts « <4026415432> [R: 10/2/2024, 5:28 PM)

<4026415432>
Thanks

A

10/2/2024, 5:28 PM

Receipts « Mike Hill <4174305501> [R:10/2/2024, 5:28 PM)

Daws0001506

